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of California

180 Howard Street, San Francisco, CA 94105 AttorneyRegulation@calbar.ca.gov

888-800-3400

CERTIFICATE OF STANDING

March 2, 2023

TO WHOM IT MAY CONCERN:

This is to certify that according to the records of the State Bar, AHMAD SAID
TAKOUCHE, #322911 was admitted to the practice of law in this state by the
Supreme Court of California on December 2, 2018 and has been since that date, and
is at date hereof, an ACTIVE licensee of the State Bar of California; and that no
recommendation for discipline for professional or other misconduct has ever been

made by the Board of Trustees or a Disciplinary Board to the Supreme Court of the
State of California.

THE STATE BAR OF CALIFORNIA

Alex Calderon
Custodian of Records
